Case 2:18-cv-09215-CBM-SS Document 19 Filed 03/25/19 Page 1 of 2 Page ID #:125



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  9   Attorneys for Plaintiff Aimee Aquitania
 10
 11
                                 UNITED STATES DISTRICT COURT
 12
                             CENTRAL DISTRICT OF CALIFORNIA
 13
 14
      AIMEE AQUITANIA,                              Case No. CV-18-9215-CBM (SSx)
 15
                    Plaintiff,
 16
             v.                                     STIPULATION OF DISMISSAL
 17                                                 WITH PREJUDICE
 18   BANK OF AMERICA, N.A.,
 19               Defendant.
 20
 21
 22          Plaintiff Aimee Aquitania, by and through her attorneys Price Law Group, APC.,
 23   and Defendant Bank of America, N.A., by and through its attorneys hereby stipulate to
 24
      dismiss Plaintiff’s claims against Bank of America, N.A. with prejudice, pursuant to Rule
 25
      41(a)(2), with each party to bear its own costs and attorneys’ fees.
 26
 27
 28

                                                                             STIPULATION OF DISMISSAL
                                                  -1-
Case 2:18-cv-09215-CBM-SS Document 19 Filed 03/25/19 Page 2 of 2 Page ID #:126



  1   Dated: March 25, 2019                             PRICE LAW GROUP, APC
  2
                                                        By:/s/ Brian Brazier .
  3                                                     Brian Brazier
                                                        brian@pricelawgroup.com
  4                                                     Attorneys for Plaintiff
                                                        Aimee Aquitania
  5
  6   Dated: March 25, 2019                             MCGUIREWOODS LLP
  7                                                     By:/s/ Ethan Schatz.
  8                                                     Ethan Schatz
                                                        eschatz@mcguirewoods.com
  9                                                     Attorneys for Defendant
                                                        Bank of America, N.A
 10
 11
                                  ATTESTATION OF SIGNATURE:
 12
      Pursuant to Local Rule 5-4.3.4(a)(2)(i) regarding signatures, I, Brian Brazier, hereby
 13   attests that concurrence in the filing of this document and its content has been obtained by
 14   Ethan Schatz.

 15
      DATED: March 25, 2019                     /s/Brian Brazier
 16
 17
 18
 19
                                    CERTIFICATE OF SERVICE
 20
             I hereby certify that on March 25, 2019, I electronically filed the foregoing with the
 21
 22   Clerk of the Court using the ECF system, which will send notice of such filing to all

 23   attorneys of record in this matter.
 24
 25          /s/Maria Marsceill
 26
 27
 28

                                                                            STIPULATION OF DISMISSAL
                                                  -2-
